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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                   4:10CR3052
                                             )
              v.                             )
                                             )        MEMORANDUM AND ORDER
MY TAN CAO, DA VAN CAO,                      )
                                             )
                     Defendants.             )

       The government’s counsel is not available for trial on August 1, 2011.            After
conferring with counsel for the parties, and upon the consent of both defendants, as stated
through their counsel of record,


       IT IS ORDERED:

       1)     The government’s motion to continue, (filing no. 64), is granted.

       2)     The trial of this case is set to commence before the Honorable Richard G. Kopf
              at 9:00 a.m. on November 14, 2011, or as soon thereafter as the case may be
              called, for a duration of eight (8) trial days, in Courtroom 1, United States
              Courthouse, Lincoln, Nebraska. Jury selection will be held at commencement
              of trial.

       3)     Based upon the showing set forth in the government’s motion and the
              representations of all counsel regarding their respective scheduling conflicts,
              and with the defendants’ consent to not only continue the trial but also exclude
              the additional time between now and November 14, 2011 for the purposes of
              Speedy Trial Act computation, the Court further finds that the ends of justice
              will be served by continuing the trial; and that the purposes served by
              continuing the trial date in this case outweigh the interest of the defendant and
              the public in a speedy trial. Accordingly, the time between today's date and
              November 14, 2011 shall be excluded for speedy trial calculation purposes.
              18 U.S.C. § 3161(h)(7)(A).

              July 8, 2011                                BY THE COURT:

                                                          s/ Cheryl R. Zwart
                                                          United States Magistrate Judge
